03/21/2014 13C@s@4K13-mc-01288-RCL Document 33-3 Filed 03/21/14 Page 1 of 21000270003

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

p=

In re Fannie Mae/Freddie Mac Senior Misc. Action No. 13-mc-1288 (RLW)
Preferred Stock Purchase Agreement Class
Action Litigations

THIS DOCUMENT RELATES TO:
ALL CASES

DECLARATION OF PLAINTIFF MARY MEIYA LIAO IN SUPPORT OF
CONSOLIDATED CLASS ACTION AND DERIVATIVE PLAINTIFFS’
OMNIBUS OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS THE
CONSOLIDATED AMENDED CLASS ACTION AND DERIVATIVE COMPLAINT

I, Mary Meiya Liao, hereby declare under penalty of perjury as follows:

1, I am a plaintiff in the above-captioned action and respectfully submit this
declaration in support of the Consolidated Class Action and Derivative Plaintiff's Omnibus
Opposition to Defendants’ Motion to Dismiss the Consolidated Amended Class Action and
Derivative Complaint. I have personal knowledge of the facts set forth in this declaration, and
could testify competently to them if called upon to do so.

Ze I hold 300 shares of Federal National Mortgage Association (“Fannie Mae”)
Preferred Series T stock. I have held such shares continuously since their initial public offering
on or about May 13, 2008. These shares are the subject of the claims asserted on my behalf in
this litigation. I hold no other securities issued by either Fannie Mae or defendant Federal Home
Loan Mortgage Corporation (“Freddie Mac”).

1 declare under penalty of perjury that the foregoing is true and correct.
03/21/2014 14¢@8Gak 13-Mc-01288-RCL Document 33-3 Filed 03/21/14 Page 2 of %0003/0003

Executed this &! day of March, 2014.

Aa, Wein, mc Pmo~

\=7- MARY MEIYA LIAO

